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 8
 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
12
13   C&SM INTL, a South Korean                    Case No: 2:25-cv-5657
     Corporation
14                                                PLAINTIFF’S COMPLAINT FOR:
                      Plaintiff,
15                                                1. COPYRIGHT INFRINGEMENT
     v.                                           2. VICARIOUS COPYRIGHT
16                                                AND/OR CONTRIBUTORY
     BLUELANS INC., a California                  COPYRIGHT INFRINGEMENT
17   Corporation; FAN YANG, an
     Individual; WEIHUA YUAN, an                  Jury Trial Demanded
18   Individual; and DOES 1-10, inclusive,
19
                   Defendants.
20
21
     Plaintiff C&SM INTL (“Plaintiff”), by and through its undersigned counsel,
22
     hereby prays to this honorable Court for relief and remedy based on the following:
23
24
                                         INTRODUCTION
25
     This is an action for copyright infringement under Section 501 of the Copyright
26
     Act. This action arises out of the Defendants’ unauthorized
27
     reproduction/modification and sale of copyrighted fabric designs owned and
28



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 1   registered by Plaintiff. Plaintiff is the exclusive owner of unique, two-dimensional,
 2   graphic artwork titled KAY2737P.
 3
 4   Plaintiff acquires ownership of the artworks by creating it or purchasing it from
 5   other designers and artists. Plaintiff spends a considerable amount of time and
 6   resources creating and obtaining high quality, marketable, and aesthetically
 7   appealing designs. Plaintiff prints the artworks onto fabric which it then widely
 8   sells and disseminates to the apparel industry, for generating profits. It is necessary
 9   for the Plaintiff to widely disseminate samples of fabrics to the prospective
10   customer, potentially including DOE defendants, to receive purchase orders from
11   them. When distributing those samples, potential buyers agree not to reproduce,
12   modify, or seek another’s reproduction of the artwork appearing on the samples
13   because such reproduction or modification would significantly depreciate the value
14   of Plaintiff’s textile business, which has been hard-earned by investing
15   considerable time and resources in acquiring exclusive ownership of the artworks.
16
17   Accordingly, Plaintiff seeks remedy and relief for the damages for direct,
18   vicarious, and contributory copyright infringement arising out of Defendants’
19   unauthorized reproduction and/or modification and sale of copyrighted fabric
20   designs under the Copyright Act of the United States, as amended, 17 U.S.C. § 101
21   et seq.
22
23                             JURISDICTION AND VENUE
24   1. This action arises under the Copyright Act of 1976, Title 17 U.S.C. § 101 et
25      seq.
26   2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331, 1338(a)
27      and (b).
28



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 1   3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and 1400(a)
 2      in that this is the judicial district in which a substantial part of the acts and
 3      omissions giving rise to the claims occurred.
 4
 5                                          PARTIES
 6   4. Plaintiff C&SM INTL is a corporation organized and existing under the laws of
 7      South Korea with its principal place of business located in South Korea.
 8   5. Plaintiff is informed and believes and thereon alleges that Defendant
 9      BLUELANS INC. (“BLUELANS”) is a California Corporation, with its
10      principal place of business at 17788 Rowland St., Unit A, City of Industry, CA
11      91748.
12   6. Plaintiff is informed and believes and thereon alleges that FAN YANG
13      (“YANG”) is, and at all relevant times was, an individual residing in California,
14      and the sole owner, officer, and/or managing agent of BLUELANS, which
15      maintains its principal place of business at 17788 Rowland St., Unit A, City of
16      Industry, CA 91748.
17   7. Plaintiff is informed and believes and thereon alleges that WEIHUA YUAN
18      (“YUAN”) is, and at all relevant times was, an individual residing in California,
19      and the sole owner, officer, and/or managing agent of BLUELANS, which
20      maintains its principal place of business at 17788 Rowland St., Unit A, City of
21      Industry, CA 91748.
22   8. Plaintiff is informed and believes and thereon alleges that some of DOES 1
23      through 3 are manufacturers and/or vendors of garments supplied to
24      Defendants. These DOE Defendants have manufactured and/or supplied, and
25      continue to manufacture and/or supply, garments containing fabrics printed
26      with Plaintiff’s copyrighted design (as hereinafter defined) without Plaintiff’s
27      knowledge or consent, or have otherwise contributed to the infringement. The
28      true names and capacities of these DOE Defendants, whether corporate,


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 1      individual, or otherwise, are presently unknown to Plaintiff, who therefore sues
 2      them under fictitious names and will seek leave to amend this Complaint to
 3      reflect their actual names and capacities when they are ascertained.
 4   9. Plaintiff is informed and believes, and thereon alleges that DOES 4 through 10
 5      are other parties not yet identified who have infringed Plaintiff’s copyrights,
 6      contributed to the infringement, or engaged in other wrongful acts as alleged
 7      herein. The true names and capacities of these DOE Defendants, whether
 8      corporate, individual, or otherwise, are presently unknown to Plaintiff, who
 9      therefore sues them under fictitious names and will seek leave to amend this
10      Complaint to reflect their actual names and capacities when they are
11      ascertained.
12   10.Plaintiff is informed and believes, and thereon alleges that each DOE Defendant
13      is responsible, in some manner, for the events alleged herein and for the
14      damages resulting therefrom.
15   11.Plaintiff is informed and believes, and thereon alleges that at all relevant times,
16      each Defendant acted in concert with the others and was an agent, affiliate,
17      officer, director, manager, principal, alter ego, and/or employee of the
18      remaining Defendants. Each Defendant acted within the scope of such agency,
19      affiliation, alter-ego relationship, and/or employment, and actively participated
20      in, ratified, or adopted—either before or after the fact—the acts alleged herein,
21      with full knowledge of all relevant facts and circumstances, including, without
22      limitation, the violations of Plaintiff’s rights and the damages caused thereby.
23
24                     CLAIMS RELATED TO DESIGN “KAY2737P”
25   12.Prior to the acts complained of herein, Plaintiff created all elements of an
26      original two-dimensional artwork for fabric printing, titled "KAY2737P"
27      (hereinafter, "Subject Design"), which is attached hereto as Exhibit A.
28



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 1   13.Plaintiff is the exclusive owner and author of the originally created artwork
 2      titled "KAY2737P," which has been duly registered with the United States
 3      Copyright Office under Registration Number Vau 1-273-274 (attached hereto as
 4      Exhibit B).
 5   14.Prior to the acts complained of herein, fabric bearing the Subject Design had
 6      been widely disseminated and sold to numerous entities in the fashion and
 7      apparel industries.
 8   15.Plaintiff has never authorized Defendants to copy, reproduce, duplicate,
 9      distribute, disseminate, or create derivative works based on the Subject Design.
10   16.Following the distribution of the Subject Design, Plaintiff is informed and
11      believes, and thereon alleges that BLUELANS, DOE Defendants, and each of
12      them, had access to the Subject Design through various means, including, but
13      not limited to: (a) access to Plaintiff’s showroom and/or design library; (b)
14      access to illegally distributed copies of the Subject Design by third-party
15      vendors and/or DOE Defendants, including, but not limited to, international
16      and/or overseas converters and printing mills; (c) access to Plaintiff’s strike-offs
17      and samples; and (d) access to garments in the marketplace manufactured with
18      lawfully printed fabric bearing the Subject Design.
19   17.Plaintiff is informed and believes and thereon alleges that BLUELANS, DOE
20      Defendants, and each of them created, manufactured, caused to be
21      manufactured, imported, distributed, marketed, advertised, and/or sold fabric
22      and/or garments comprised of fabric featuring a design incorporating a design
23      that is identical or substantially similar to the Subject Design (“Infringing
24      Garment”). The Infringing Garment includes, but is not limited to, garments
25      bearing Subject Design, which have been sold through online and/or offline
26      retail channels operated by BLUELANS, and DOE Defendants. An exemplar of
27      Infringing Garment is attached hereto as Exhibit C.
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 1   18.Plaintiff is informed and believes, and thereon alleges, that Defendants YANG
 2      and YUAN, as the principal owner and/or controlling officer of BLUELANS,
 3      had direct control over, authorized, and/or knowingly participated in its
 4      business operations and transactions, including the procurement,
 5      manufacturing, importation, marketing, advertising, sale, and distribution—both
 6      online and offline—of fabric and/or garments incorporating a design that is
 7      identical or substantially similar to the Subject Design, without Plaintiff’s
 8      authorization.
 9   19.Plaintiff further alleges that YANG and YUAN had the right and ability to
10      supervise, and not only directly or indirectly benefited from, but also facilitated
11      and enabled the infringing activities carried out by BLUELANS. By virtue of
12      their position and authority, YANG and YUAN knew or should have known of
13      the infringing activities and failed to take any action to prevent them, thereby
14      making their personally liable for copyright infringement.
15
16                             FIRST CLAIM FOR RELIEF
17            (For Copyright Infringement – Against all Defendants, and Each)
18   20.Plaintiff repeats, realleges and incorporates herein by reference as though fully
19      set forth the allegations contained in preceding paragraphs of this Complaint.
20   21.Plaintiff is informed and believes and thereon alleges that Defendants, and each
21      of them, accessed the Subject Design through, without limitation, the following:
22      (a) access to Plaintiff’s design library; (b) access to authorized or unauthorized
23      reproductions in the possession of other vendors and/or DOE Defendants; and
24      (c) access to Plaintiff’s strike-offs, swatches, paper CADs and samples.
25   22.Plaintiff is informed and believes and thereon alleges that Defendants, and each
26      of them, infringed Plaintiff’s copyright by importing, creating, marketing,
27      advertising, making, and/or developing directly infringing and/or derivative
28      works from the Subject Design and by importing, producing, distributing and/or


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 1      selling infringing garments through a nationwide network of retail stores,
 2      catalogues, and online websites.
 3   23.Due to Defendants’ acts of infringement, Plaintiff has suffered substantial
 4      damages to its business in an amount to be established at trial.
 5   24.Due to Defendants’ acts of infringement, Plaintiff has suffered general and
 6      special damages in an amount to be established at trial.
 7   25.Due to Defendants’ acts of copyright infringement as alleged herein,
 8      Defendants, and each of them, have obtained direct and indirect profits they
 9      would not otherwise have realized but for their infringement of the Subject
10      Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
11      directly and indirectly attributable to Defendants’ infringement of the Subject
12      Design in an amount to be established at trial.
13   26.Plaintiff is informed and believes and thereon alleges that Defendants, and each
14      of them, have committed acts of infringement alleged above with actual or
15      constructive knowledge of Plaintiff’s rights such that Plaintiff is entitled to a
16      finding of willful infringement, which further subjects Defendants, and each of
17      them, to liability for statutory damages under Section 504(c)(2) of the
18      Copyright Act in the sum of up to $150,000.00 per infringement. Within the
19      time permitted by law, Plaintiff will make its selection between actual damages
20      and statutory damages.
21
22                            SECOND CLAIM FOR RELIEF
23        (For Vicarious and/or Contributory Copyright Infringement – Against All
24                                         Defendants)
25   27.Plaintiff repeats, re-alleges and incorporates herein by reference as though fully
26      set forth the allegations contained in the preceding paragraphs of this
27      Complaint.
28



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 1   28.Plaintiff is informed and believes and thereon alleges that Defendants, and each
 2      of them, knowingly induced, participated in, aided and abetted in and
 3      resultantly profited from the illegal reproduction, importation, purchase,
 4      marketing, advertisement, distribution and/or subsequent sales of Infringing
 5      Garment featuring the Subject Design as alleged herein above.
 6   29.Plaintiff is informed and believes and thereon alleges that Defendants, and each
 7      of them, are vicariously liable for the infringement alleged herein because they
 8      had the right and ability to supervise the infringing conduct and because they
 9      had a direct financial interest in the infringing product.
10   30.By reason of the Defendants’, and each of their, acts of contributory and/or
11      vicarious infringement as alleged above, Plaintiff has suffered and will continue
12      to suffer substantial damages to its business in an amount to be established at
13      trial, as well as additional general and special damages in an amount to be
14      established at trial.
15   31.Due to Defendants’ acts of contributory and/or vicarious copyright infringement
16      as alleged herein, Defendants, and each of them, have obtained direct and
17      indirect profits they would have not otherwise realized but for their
18      infringement of the Subject Design. As such, Plaintiff is entitled to
19      disgorgement of Defendants’ profits directly and indirectly attributable to
20      Defendants’ infringement of the Subject Design, an amount to be established at
21      trial.
22   32.Plaintiff is informed and believes and thereon alleges that Defendants, and each
23      of them, have committed acts of infringement alleged herein with actual or
24      constructive knowledge of Plaintiff’s rights such that Plaintiff is entitled to a
25      finding of willful infringement, which further subjects Defendants, and each of
26      them, to liability for statutory damages under Section 504(c)(2) of the
27      Copyright Act in the sum of up to $150,000.00 per infringement. Within the
28



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 1      time permitted by law, Plaintiff will make its selection between actual damages
 2      and statutory damages.
 3
 4                                PRAYER FOR RELIEF
 5   WHEREFORE, Plaintiff prays for judgment as follows:
 6
 7                                  Against All Defendants
 8   With respect to Each Claim for Relief:
 9   1. That Defendants, each of them, along with their agents and servants be enjoined
10      from infringing Plaintiff’s copyrights in any manner;
11   2. That Plaintiff be awarded all profits of Defendants plus all losses of Plaintiff,
12      the exact sum to be proven at time of trial, or, if elected before final judgment,
13      statutory damages as available under the Copyright Act, 17 U.S.C. § 101 et
14      seq.;
15   3. That Plaintiff be awarded its attorneys’ fees as available under the Copyright
16      Act, 17 U.S.C. § 101 et seq.;
17   4. That Plaintiff be awarded pre-judgment interest as allowed by law;
18   5. That Plaintiff be awarded costs of litigation; and
19   6. That Plaintiff be awarded such further legal and equitable relief as the Court
20      deems proper.
21
22                           DEMAND FOR TRIAL BY JURY
23   Plaintiff hereby demands a trial by jury on all issues in this action pursuant to
24   Federal Rule of Civil Procedure 38 and the Seventh Amendment of the United
25   States Constitution.
26
27
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 1   Dated: June 21, 2025
 2                                       Respectfully submitted,
 3
 4
 5                                       /s/ Jeonghye Kim          __
                                         Jeonghye Kim, Esq.
 6
                                         Attorney for Plaintiff
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                                         COMPLAINT
